Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 1 of 38 PageID: 218




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Quest Diagnostics Incorporated


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



SYMBOLOGY INNOVATIONS, LLC,                              C.A. No. 2:17-cv-02082-CCC-JBC


                       Plaintiff,                          JURY TRIAL DEMANDED


               v.


QUEST DIAGNOSTICS INCORPORATED,


                       Defendant.




  DEFENDANT QUEST DIAGNOSTICS INCORPORATED’S ANSWER, AFFIRMATIVE
          DEFENSES, AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       Defendant Quest Diagnostics Incorporated (“Quest”) files this Answer and Counterclaims to

Plaintiff Symbology Innovations, LLC’s (“Plaintiff”) Complaint for Infringement of Patent

(“Complaint”). Quest denies the allegations and characterizations in Plaintiff’s Complaint unless

expressly admitted in the following paragraphs.



                                                     1
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 2 of 38 PageID: 219




                                    NATURE OF THE ACTION


       1.      Quest admits that the Complaint purports to set forth an action for patent

infringement, under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that the Plaintiff

purports to seek injunctive relief as well as damages, attorney’s fees, and costs. Quest further admits

that a purported copy of U.S. Patent No. 8,424,752 (the “’752 Patent”) is attached to the Complaint

as Exhibit A; U.S. Patent No. 8,651,369 (the “’369 Patent”) is attached to the Complaint as Exhibit

B; U.S. Patent No. 8,936,190 (the “’190 Patent”) is attached to the Complaint as Exhibit C; and U.S.

Patent No. 7,992,773 (the “’773 Patent”) is attached to the Complaint as Exhibit D (collectively, the

“Patents-in-Suit”). Quest denies it has committed or is committing acts of infringement and/or

“profiting, in an illegal and unauthorized manner and without authorization and/or of the consent

from Symbology” such that Plaintiff is entitled to any relief from Quest. Quest denies any remaining

allegations in Paragraph 1 of the Complaint.

                                           THE PARTIES


       2.      Quest is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 2 of the Complaint and, on that basis, denies all such allegations.

       3.      Quest admits the allegations in Paragraph 3 of the Complaint.

                                  JURISDICTION AND VENUE


       4.      Quest admits that this Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

       5.      Quest does not contest whether personal jurisdiction over it properly lies in this

District in this case, or that it conducts business in the State of New Jersey. Quest denies it has

                                                       2
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 3 of 38 PageID: 220




committed or is committing acts of infringement within the State of New Jersey or in this District

and, on that basis, denies the remaining allegations of Paragraph 5 of the Complaint.

       6.      Quest does not contest whether personal jurisdiction over it properly lies in this

District in this case, or that it conducts business in the State of New Jersey. Quest denies it has

committed or is committing acts of infringement within New Jersey or in this District and, on that

basis, denies the remaining allegations of Paragraph 6 of the Complaint.

       7.      Quest admits that it conducts business in the State of New Jersey and in this District.

Quest denies it has committed or is committing acts of infringement within New Jersey or in this

District and, on that basis, denies the remaining allegations of Paragraph 7 of the Complaint.

       8.      Quest admits that it conducts business in the State of New Jersey and in this District.

Quest denies it has committed or is committing acts of infringement within New Jersey or in this

District and, on that basis, denies the remaining allegations of Paragraph 8 of the Complaint.

       9.      Quest denies it has committed or is committing acts of infringement within New

Jersey or in this District and, on that basis, denies the allegations of Paragraph 9 of the Complaint.

       10.     Quest admits that venue may be proper but denies that venue is convenient in this

District as to Quest.

                                    FACTUAL ALLEGATIONS


                                              ’752 Patent

       11.     Quest admits that the purported copy of the ’752 Patent that is attached to the

Complaint as Exhibit A indicates that it issued on April 23, 2013 and is entitled “System and Method

for Presenting Information About an Object on a Portable Electronic Device.” Quest is without

                                                       3
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 4 of 38 PageID: 221




knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 11 of the Complaint and, on that basis, denies all such allegations.

       12.     Quest is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 12 of the Complaint and, on that basis, denies all such allegations.

       13.     Quest admits that the purported copy of the ’752 Patent that is attached to the

Complaint as Exhibit A appears to contain three independent claims and twenty-five dependent

claims. Quest denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 13 of the Complaint.

       14.     Quest denies that the claims of the ’752 Patent constitute inventions or patent subject

matter. Quest is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 14 of the Complaint and, on that basis, denies all such

allegations.

                                              ’369 Patent

       15.     Quest admits that the purported copy of the ’369 Patent that is attached to the

Complaint as Exhibit B indicates that it issued on February 18, 2014, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Quest is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 15 of the Complaint and, on that basis, denies all such allegations.

       16.     Quest is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 16 of the Complaint and, on that basis, denies all such allegations.




                                                       4
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 5 of 38 PageID: 222




       17.     Quest admits that the purported copy of the ’369 Patent that is attached to the

Complaint as Exhibit B appears to contain three independent claims and twenty-five dependent

claims. Quest denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 17 of the Complaint.

       18.     Quest denies that the claims of the ’369 Patent constitute inventions or patent subject

matter. Quest is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 18 of the Complaint and, on that basis, denies all such

allegations.

                                              ’190 Patent

       19.     Quest admits that the purported copy of the ’190 Patent that is attached to the

Complaint as Exhibit C indicates that it issued on January 20, 2015, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Quest is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 19 of the Complaint and, on that basis, denies all such allegations.

       20.     Quest is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 20 of the Complaint and, on that basis, denies all such allegations.

       21.     Quest admits that the purported copy of the ’190 Patent that is attached to the

Complaint as Exhibit C appears to contain three independent claims and seventeen dependent

claims. Quest denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 21 of the Complaint.




                                                       5
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 6 of 38 PageID: 223




       22.     Quest denies that the claims of the ’190 Patent constitute inventions or patent subject

matter. Quest is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 22 of the Complaint and, on that basis, denies all such

allegations.

                                              ’773 Patent

       23.     Quest admits that the purported copy of the ’773 Patent that is attached to the

Complaint as Exhibit D indicates that it issued on August 9, 2011, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Quest is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 23 of the Complaint and, on that basis, denies all such allegations.

       24.     Quest is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 24 of the Complaint and, on that basis, denies all such allegations.

       25.     Quest admits that the purported copy of the ’773 Patent that is attached to the

Complaint as Exhibit D appears to contain three independent claims and fifteen dependent claims.

Quest denies it has committed or is committing acts of infringement and, on that basis, denies the

remaining allegations of Paragraph 25 of the Complaint.

       26.     Quest denies that the claims of the ’773 Patent constitute inventions or patent

subject matter. Quest is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in Paragraph 26 of the Complaint and, on that basis, denies all such

allegations.




                                                       6
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 7 of 38 PageID: 224




                                              COUNT I
                     [ALLEGED] INFRINGEMENT OF THE ’752 PATENT


        27.     Quest incorporates by reference each of its responses set forth in Paragraphs 1-26

above as if fully set forth herein.

        28.     Quest denies the allegations in Paragraph 28 of the Complaint.

        29.     Quest admits that it has had knowledge of the ’752 Patent since the time it was served

with the original Complaint. Quest denies the remaining allegations in Paragraph 29 of the

Complaint.

        30.     Quest denies the allegations in Paragraph 30 of the Complaint.

        31.     Quest admits that a Quick Response (QR) code has appeared on some product

promotional materials. Quest denies that it has committed or is committing acts of infringement in

this District or elsewhere and, on that basis, denies any remaining allegations in Paragraph 31 of the

Complaint.

        32.     Quest incorporates its admissions, averments, and denials in Paragraph 31 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 32 of the Complaint and, on that basis, denies all

such allegations.

        33.     Quest incorporates its admissions, averments, and denials in Paragraph 31 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 33 of the Complaint and, on that basis, denies all

such allegations.



                                                      7
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 8 of 38 PageID: 225




        34.     Quest incorporates its admissions, averments, and denials in Paragraph 31 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 34 of the Complaint and, on that basis, denies all

such allegations.

        35.     Quest incorporates its admissions, averments, and denials in Paragraph 31 above as if

set forth fully herein. Quest admits that product/service information is available on its websites and

can be viewed on a portable electronic device. Quest is without knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 35 of the Complaint and, on

that basis, denies all such allegations.

        36.     Quest incorporates its admissions, averments, and denials in Paragraph 31 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 36 of the Complaint and, on that basis, denies all

such allegations.

        37.     Quest denies the allegations in Paragraph 37 of the Complaint.

        38.     Quest denies the allegations in Paragraph 38 of the Complaint.

        39.     Quest denies the allegations in Paragraph 39 of the Complaint.

        40.     Quest denies the allegations in Paragraph 40 of the Complaint.

                                             COUNT II
                     [ALLEGED] INFRINGEMENT OF THE ’369 PATENT


        41.     Quest incorporates by reference each of its responses set forth in Paragraphs 1-40

above as if fully set forth herein.


                                                      8
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 9 of 38 PageID: 226




       42.     Quest denies the allegations in Paragraph 42 of the Complaint.

       43.     Quest admits that it has had knowledge of the ’369 Patent since the time it was served

with the original Complaint. Quest denies the remaining allegations in Paragraph 43 of the

Complaint.

       44.     Quest denies the allegations in Paragraph 44 of the Complaint.

       45.     Quest admits that a Quick Response (QR) code has appeared on product promotional

materials. Quest denies that it has committed or is committing acts of infringement in this District or

elsewhere and, on that basis, denies any remaining allegations in Paragraph 45 of the Complaint.

       46.     Quest incorporates its admissions, averments, and denials in Paragraph 45 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 46 of the Complaint and, on that basis, denies all

such allegations.

       47.     Quest incorporates its admissions, averments, and denials in Paragraph 45 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 47 of the Complaint and, on that basis, denies all

such allegations.

       48.     Quest incorporates its admissions, averments, and denials in Paragraph 45 above as

if set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 48 of the Complaint and, on that basis, denies all

such allegations.

       49.     Quest incorporates its admissions, averments, and denials in Paragraph 45 above as if

set forth fully herein. Quest admits that product/service information is available at on its websites

                                                      9
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 10 of 38 PageID: 227




and can be viewed on a portable electronic device. Quest is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 49 of the

Complaint and, on that basis, denies all such allegations.

        50.     Quest incorporates its admissions, averments, and denials in Paragraph 45 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 50 of the Complaint and, on that basis, denies all

such allegations.

        51.     Quest denies the allegations in Paragraph 51 of the Complaint.

        52.     Quest denies the allegations in Paragraph 52 of the Complaint.

        53.     Quest denies the allegations in Paragraph 53 of the Complaint.

        54.     Quest denies the allegations in Paragraph 54 of the Complaint.

                                             COUNT III
                     [ALLEGED] INFRINGEMENT OF THE ’190 PATENT


        55.     Quest incorporates by reference each of its responses set forth in Paragraphs 1-54

above as if fully set forth herein.

        56.     Quest denies the allegations in Paragraph 56 of the Complaint.

        57.     Quest admits that it has had knowledge of the ’190 Patent since the time it was served

with the original Complaint. Quest denies the remaining allegations in Paragraph 57 of the

Complaint.

        58.     Quest denies the allegations in Paragraph 58 of the Complaint.




                                                      10
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 11 of 38 PageID: 228




        59.     Quest admits that a Quick Response (QR) code has appeared on product promotional

materials. Quest denies that it has committed or is committing acts of infringement in this District or

elsewhere and, on that basis, denies any remaining allegations in Paragraph 59 of the Complaint.

        60.     Quest incorporates its admissions, averments, and denials in Paragraph 59 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 60 of the Complaint and, on that basis, denies all

such allegations.

        61.     Quest incorporates its admissions, averments, and denials in Paragraph 59 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 61 of the Complaint and, on that basis, denies all

such allegations.

        62.     Quest incorporates its admissions, averments, and denials in Paragraph 59 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 62 of the Complaint and, on that basis, denies all

such allegations.

        63.     Quest incorporates its admissions, averments, and denials in Paragraph 59 above as if

set forth fully herein. Quest admits that product/service information is available on its websites and

can be viewed on a portable electronic device. Quest is without knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 63 of the Complaint and, on

that basis, denies all such allegations.




                                                      11
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 12 of 38 PageID: 229




        64.     Quest incorporates its admissions, averments, and denials in Paragraph 59 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 64 of the Complaint and, on that basis, denies all

such allegations.

        65.     Quest denies the allegations in Paragraph 65 of the Complaint.

        66.     Quest denies the allegations in Paragraph 66 of the Complaint.

        67.     Quest denies the allegations in Paragraph 67 of the Complaint.

        68.     Quest denies the allegations in Paragraph 68 of the Complaint.

                                             COUNT IV
                     [ALLEGED] INFRINGEMENT OF THE ’773 PATENT


        69.     Quest incorporates by reference each of its responses set forth in Paragraphs 1-68

above as if fully set forth herein.

        70.     Quest denies the allegations in Paragraph 70 of the Complaint.

        71.     Quest admits that it has had knowledge of the ’773 Patent since the time it was served

with the original Complaint. Quest denies the remaining allegations in Paragraph 71 of the

Complaint.

        72.     Quest denies the allegations in Paragraph 72 of the Complaint.

        73.     Quest admits that a Quick Response (QR) code has appeared on product promotional

materials. Quest denies that it has committed or is committing acts of infringement in this District or

elsewhere and, on that basis, denies any remaining allegations in Paragraph 73 of the Complaint.




                                                      12
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 13 of 38 PageID: 230




        74.     Quest incorporates its admissions, averments, and denials in Paragraph 73 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 74 of the Complaint and, on that basis, denies all

such allegations.

        75.     Quest incorporates its admissions, averments, and denials in Paragraph 73 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 75 of the Complaint and, on that basis, denies all

such allegations.

        76.     Quest incorporates its admissions, averments, and denials in Paragraph 73 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 76 of the Complaint and, on that basis, denies all

such allegations.

        77.     Quest incorporates its admissions, averments, and denials in Paragraph 73 above as if

set forth fully herein. Quest admits that product/service information is available on its websites and

can be viewed on a portable electronic device. Quest is without knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 77 of the Complaint and, on

that basis, denies all such allegations.

        78.     Quest denies the allegations in Paragraph 78 of the Complaint.

        79.     Quest incorporates its admissions, averments, and denials in Paragraph 73 above as if

set forth fully herein. Quest is without knowledge or information sufficient to form a belief as to the




                                                      13
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 14 of 38 PageID: 231




truth of the remaining allegations in Paragraph 79 of the Complaint and, on that basis, denies all

such allegations.

       80.     Quest denies the allegations in Paragraph 80 of the Complaint.

       81.     Quest denies the allegations in Paragraph 81 of the Complaint.

       82.     Quest denies the allegations in Paragraph 82 of the Complaint.

       83.     Quest denies the allegations in Paragraph 83 of the Complaint.


                           PLAINTIFF’S DEMAND FOR JURY TRIAL


       84.     Quest is not required to provide a response to Plaintiff’s request for a trial by jury.


                                       PRAYER FOR RELIEF


       Quest denies the Plaintiff is entitled to any relief from Quest and denies all the allegations

contained in Paragraphs (a)-(f) of Plaintiff’s Prayer for Relief.

                                    AFFIRMATIVE DEFENSES


       Quest’s Affirmative Defenses are listed below. Quest reserves the right to amend its

answer to add additional Affirmative Defenses consistent with the facts discovered in this case.

                                 FIRST AFFIRMATIVE DEFENSE


       Quest has not infringed and does not infringe, under any theory of infringement (including

directly (whether individually or jointly) or indirectly (whether contributorily or by inducement)),

any valid, enforceable claim of the ’752, ’369, ’190 and/or ’773 Patents (collectively, the “Asserted

Patents”).

                                                        14
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 15 of 38 PageID: 232




                               SECOND AFFIRMATIVE DEFENSE


       Each asserted claim of the Asserted Patents is invalid for failure to comply with one or more

of the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C. §§

101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                THIRD AFFIRMATIVE DEFENSE


       Plaintiff’s attempted enforcement of the Asserted Patents against Quest is barred by the

doctrine of inequitable conduct.

                               FOURTH AFFIRMATIVE DEFENSE


       To the extent that Plaintiff and any predecessors in interest to any of the Asserted Patents

failed to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that Quest’s actions allegedly infringe the Asserted Patents, Quest is

not liable to Plaintiff for the acts alleged to have been performed before it received actual notice that

it was allegedly infringing the Asserted Patents.

                                FIFTH AFFIRMATIVE DEFENSE


       To the extent that Plaintiff asserts that Quest indirectly infringes, either by contributory

infringement or inducement of infringement, Quest is not liable to Plaintiff for the acts alleged to

have been performed before Quest knew that its actions would cause indirect infringement.




                                                       15
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 16 of 38 PageID: 233




                                SIXTH AFFIRMATIVE DEFENSE


       Plaintiff’s attempted enforcement of the Asserted Patents against Quest is barred by one or

more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.

                              SEVENTH AFFIRMATIVE DEFENSE


       The claims of the Asserted Patents are not entitled to a scope sufficient to encompass

any system employed or process practiced by Quest.

                               EIGHTH AFFIRMATIVE DEFENSE


       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that Quest makes, uses, or sells

each claimed element of any asserted claim, or that Quest directs or controls another entity to make,

use, or sell any element that is not made, used, or sold by Quest.

                                NINTH AFFIRMATIVE DEFENSE


       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether by

inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be granted.

                               TENTH AFFIRMATIVE DEFENSE


       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

Asserted Patents do not claim patentable subject matter under 35 U.S.C. § 101.




                                                      16
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 17 of 38 PageID: 234




                            ELEVENTH AFFIRMATIVE DEFENSE


       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any system employed or

process practiced by Quest: (1) captures a digital image; (2) detects symbology associated with the

digital image; (3) decodes the symbology to obtain a decode string; (4) sends the decode string to a

remote server for processing; (5) includes one or more visual detection systems that are configured

to automatically detect the symbology; and/or (6) includes a visual detection system that is

configured to run in the background with respect to other systems associated with the mobile device

as required by the Asserted Patents.

                                 QUEST’S COUNTERCLAIMS


       For its counterclaims against Plaintiff Symbology Innovations, LLC, Counterclaim Plaintiff

Quest Diagnostics Incorporated (“Quest”), alleges as follows:

                                            PARTIES


       1.      Counterclaim Plaintiff Quest Diagnostics Corporation is a corporation organized and

existing under the laws of the State of Delaware, with offices located at 3 Giralda Farms, Madison,

New Jersey 07940.

       2.      Upon information and belief based solely on Paragraph 2 of the Complaint as pled by

Plaintiff, Counterclaim Defendant Symbology Innovations, LLC (“Symbology”), is a limited

liability company organized and existing under the laws of the State of Texas and maintains its

principle place of business at 1400 Preston Road, Suite 400, Plano, Texas 75093.



                                                    17
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 18 of 38 PageID: 235




                                           JURISDICTION

       3.      Quest incorporates by reference Paragraphs 1–2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35, United

States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq., and 28

U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      Symbology has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.

       6.      Based solely on Symbology’s filing of this action, venue is proper, though not

necessarily convenient, in this District pursuant to at least 28 U.S.C. §§ 1391 and 1400.

                                               COUNT I
                    DECLARATION REGARDING NON-INFRINGEMENT


       7.      Quest incorporates by reference Paragraphs 1–6 above.

       8.      Based on Symbology’s filing of this action and at least Quest’s first affirmative

defense, an actual controversy has arisen and now exists between the parties as to whether Quest

infringes the ’752, ’369, ’190, and/or ’773 Patents (collectively, the “Asserted Patents”).

       9.      Quest does not infringe any valid claim of the Asserted Patents because, among other

things, the accused product does not: (1) capture a digital image; (2) detect symbology associated with

the digital image; (3) decode the symbology to obtain a decode string; (4) send the decode string to a

remote server for processing; (5) include one or more visual detection systems that are configured to

automatically detect the Symbology; and/or (6) include a visual detection system that is configured to

run in the background with respect to other systems associated with the mobile device.
                                                      18
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 19 of 38 PageID: 236




       10.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., Quest

requests a declaration by the Court that Quest has not infringed and does not infringe any claim of

the Asserted Patents under any theory (including directly (whether individually or jointly) or

indirectly (whether contributorily or by inducement).

                                              COUNT II
                          DECLARATION REGARDING INVALIDITY


       11.       Quest incorporates by reference Paragraphs 1–10 above.

       12.       Based on Symbology's filing of this action and at least Quest’s Second Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the validity of the

claims of the Asserted Patents.

       13.       The claims of the Asserted Patents are anticipated and/or rendered obvious by, inter

alia, BarPoint.com, Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red

Laser, ScanBuy, U.S. Serial No. 60/118,051, U.S. Serial No. 60/187,646, U.S. Serial No.

60/185,546, U.S. Patent Application 2008/0004978, U.S. Patent No. 6,430,554, and/or U.S. Patent

No. 6,651,053.

       14.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., Quest

requests a declaration by the Court that the claims of the Asserted Patents are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                              COUNT III
                     DECLARATION REGARDING UNENFORCEABILITY
                               DUE TO INEQUITABLE CONDUCT

                                                        19
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 20 of 38 PageID: 237




       15.      Quest incorporates by reference Paragraphs 1–14 above.

       16.      Based on Symbology's filing of this action and at least Quest’s Third Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the enforceability

of the claims of the Asserted Patents.

       17.      The named inventor, Leigh Rothschild, had knowledge of material, non-cumulative

prior art regarding the Asserted Patents and, on information and belief, deliberately withheld the

material, non-cumulative prior art from disclosure to the United States Patent and Trademark Office

(“USPTO”) during prosecution of the Asserted Patents with the intent to deceive the examiner and

the USPTO.

       18.      On information and belief, Reagan Innovations, LLC, assignee of the Asserted

Patents, and/or the representatives associated with the filing and prosecution of the applications for

the Asserted Patents, had knowledge of material, non-cumulative prior art regarding the Asserted

Patents and, on information and belief, deliberately withheld the material, non-cumulative prior art

from disclosure to the USPTO with the intent to deceive the examiner and the USPTO.

       19.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., Quest

requests a declaration by the Court that all claims of the Asserted Patents are unenforceable due to

inequitable conduct because one or more of the individuals referenced above, with the intent to

deceive the USPTO, failed to comply with the duty of candor to the USPTO, as set forth in 37

C.F.R. § 1.56, during prosecution of the applications that led to the issuance of the Asserted Patents.
             A. Background Facts Relating to Counterclaim of Unenforceability

                1. At the Time of Prosecution, Leigh Rothschild was Aware of Material, Non-
                   Cumulative Prior Art Related to Barcode Symbology, Including His Own
                   BarPoint System and Related Patents.
                                                      20
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 21 of 38 PageID: 238




       20.    On information and belief, due to his long involvement with filing and prosecuting

patent applications, Mr. Rothschild is familiar with policies and practices of the USPTO and its

procedures, including its duty of candor. In particular, according to his personal LinkedIn page, Mr.

Rothschild:

              is an established inventor who to date has been issued more then [sic]
              eighty US patents and has more than 150 patents pending worldwide.
              Mr. Rothschild’s first patent was conceived when he was 17 years of
              age and granted shortly thereafter.

Exhibit A.

       21.    Moreover, Mr. Rothschild has long been familiar with prosecuting patents in the same

field as Symbology’s characterization of the Asserted Patents, which Symbology alleges relates to

barcode symbology, namely “Quick Response Codes (QR codes).” In an online profile, Mr.

Rothschild was quoted as saying:

              I have 60 patents—from computer servers to medical to 3D displays.
              Most of my inventions are related to technology, such as the method of
              tying QR codes to the internet....

Exhibit B.
                      a. The Undisclosed BarPoint System

       22.    Mr. Rothschild’s involvement with barcode technology dates back more than a

decade. On information and belief, in order to make money at alleged inventing, in the late 1990s

and early 2000s, Mr. Rothschild started a few businesses, including BarPoint.com.

       23.    According to BarPoint.com’s 2001 Annual Report filed with the SEC:

              BarPoint is an online and wireless product information and shopping
              service provider which also develops mobile device software
              applications for consumers and businesses. BarPoint's product
              information and shopping service platform utilizes patent pending

                                                     21
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 22 of 38 PageID: 239




              reverse search technology to enable users to search for product
              information using unique product identifiers, including universal
              product codes, known as UPCs or barcode numbers, catalog numbers
              and SKU numbers.

Exhibit C.

       24.    On information and belief, Mr. Rothschild was deeply involved in the affairs of

BarPoint.com. In addition to being its founder, he served as Chairman of its Board of Directors from

1998 through 2004. During a portion of that time he also served as its Chief Executive Officer. See

Exhibit A.

       25.    The primary technology that BarPoint.com employed involved scanning a barcode

with a handheld mobile device and transmitting the decoded barcode information over the Internet in

order to search for product information (the “BarPoint.com system”). According to BarPoint.com’s

1999 Annual Report filed with the SEC:

              BarPoint has developed and recently launched a comparative shopping
              and consumer information Internet site utilizing proprietary reverse
              search technology that enables consumers to search the Internet for
              product-specific information using universal product codes, known as
              UPCs or barcode numbers.... The BarPoint service can be accessed
              from a desktop computer or a wide variety of Internet-enabled
              handheld mobile devices, such as personal digital assistants (PDAs),
              interactive pagers and cell phones. By typing or scanning the barcode
              number that manufacturers attach to their products, consumers gain
              access to a variety of information gathered by BarPoint on the specific
              product....

                            * * *

              On December 6, 1999, we launched a preview version of our website,
              www.barpoint.com, which features a patent-pending search engine and
              software technology that allows consumers to use the standard UPC
              barcode number that appears on what we believe to be more than 100
              million retail items to search for product-specific information from and
              shop for products on the Internet.

                                                    22
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 23 of 38 PageID: 240




                               * * *

                 The BarPoint technology can be accessed via the Internet at
                 www.barpoint.com from desktops or handheld wireless devices. It is
                 presently available on a variety of hand-held and wireless devices
                 including the Palm VII from 3COM/Palm Computing, interactive
                 pagers such as those from Research In Motion, and the SPT 1500, a
                 Palm VII with a built-in scanning device, manufactured by Symbol
                 Technologies.

                               ***

                 The    BarPoint    service    is    available   through    accessing
                 www.barpoint.com through which UPC barcode number searches can
                 be executed by simply typing or scanning in a UPC barcode number.

See Exhibit D.

       26.       The BarPoint system, publicly known, offered for sale, and used around 1999, is

substantially similar to the alleged infringing activity of the Asserted Patents as characterized by

Symbology in its Complaint:

                 The invention claimed in the [Asserted Patents] comprises a method
                 for enabling a portable electronic device to retrieve information about
                 an object when the object’s symbology, is detected.

See, e.g., Complaint at ¶¶ 14, 18, 22, 26.

       27.       As shown in the claim chart attached hereto as Exhibit E, the BarPoint system

anticipates and/or renders obvious each and every element of Claim 1 of the ’752, ’369, and ’190

Patents under Symbology’s characterization of the Asserted Patents’ scope, and thus is material and

not cumulative to the information already of record during the prosecution of the Asserted Patents

and related applications.

                        b. The Undisclosed Rothschild Patents




                                                       23
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 24 of 38 PageID: 241




       28. In addition to his firsthand involvement with BarPoint.com, Mr. Rothschild was

identified as the sole named inventor for at least three provisional applications that disclosed the

BarPoint.com system, including:

        (a)     U.S. Serial no. 60/118,051 (“’051 provisional application”), filed Feb. 1, 1999, and
                entitled “INTERACTIVE METHOD FOR INVESTIGATING PRODUCTS”;

        (b)     U.S. Serial No. 60/187,646 (“’646 provisional application”), filed Mar. 8, 2000 and
                entitled “INTERACTIVE SYSTEM FOR INVESTIGATING PRODUCTS ON A
                NETWORK THROUGH A MOBILE DEVICE”; and

        (c)     U.S. Serial No. 60/185,546 (“’546 provisional application”), filed Feb. 28, 2000 and
                entitled “METHOD OF VERIFYING BARCODE/UPC NUMBERS OR OTHER
                SYMBOLOGIES AND LINKING SUCH NUMBERS TO INFORMATION ON A
                GLOBAL COMPUTER NETWORK.”

       29.      On information and belief, the ’051 provisional application became publicly

available, such as through the USPTO’s public PAIR website, more than one year prior to the

September 15, 2010 earliest effective filing date of the Asserted Patents, because later patent

applications published and/or granted claimed priority to them. See Manual for Patent Examination

Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)-(vi)). The ’051 provisional application is

attached hereto as Exhibit F.

       30.      The following disclosures in the ’051 provisional application confirm that the

BarPoint system was offered for sale and publicly used prior to the filing dates of the ’051

provisional application:


              • The ’051 provisional application provides a printout from www.barpoint.com entitled
                “Advertising Barcode,” dated January 20, 1999, and shows:




                                                     24
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 25 of 38 PageID: 242




             • Another printout in the ’051 provisional application from www.barpoint.com entitled
               “Advertising Barcode Demo,” dated January 20, 1999, shows:




             • Another printout in the ’051 provisional application from www.barpoint.com entitled
               “Link to Your Product’s Website,” dated January 20, 1999, shows:




Exhibit F.

       31.     Based on the provisional application’s disclosures and Mr. Rothschild’s firsthand

involvement with BarPoint.com, it was known to Mr. Rothschild, his assignee Reagan Innovations,

LLC, and/or their representatives associated with the filing and prosecution of the applications for

                                                    25
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 26 of 38 PageID: 243




the Asserted Patents, that the BarPoint system described in the provisional applications was offered

for sale and publicly used prior to the filing dates of the provisional applications.

       32.     Mr. Rothschild’s representatives subsequently filed several non-provisional

applications that claim priority to the ’051, ’646, and ’546 provisional applications, including the

applications for U.S. Patent No. 6,430,554 (“’554 Patent”), which issued on August 6, 2002, and

U.S. Patent No. 6,651,053 (“’053 Patent”), which issued on November 18, 2003, each of which

names Mr. Rothschild as the sole inventor. These patents are attached hereto as Exhibits G-H.




       33.     On June 30, 2006, Mr. Rothschild filed U.S. Patent Application 2008/0004978 (“’978

application”) with the USPTO. The ’978 application was published January 3, 2008 and is attached

hereto as Exhibit I.

       34.     The ’978 application disclosed “a system and method ... for identifying an article of

commerce, e.g., digital media content, and downloading all or part of content related to the article of

commerce to mobile devices such as portable digital media players and/or mobile phone devices”

over the Internet. Id., Paras. 0007, 0035. The ’978 application further disclosed capturing a barcode

and decoding the barcode in order to acquire an identification code of the article of commerce:




                                                       26
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 27 of 38 PageID: 244




Id., Para. 0037.

        35.        The ’051, ’646, and ’546 provisional applications, the ’978 application, and the ’554

and ’053 Patents (collectively, the “Rothschild Patents”), each anticipates and/or renders obvious

each and every element of Claim 1 of the ’752, ’369, and ’190 Patents under Symbology’s

characterization of the alleged infringing activity, as shown in the exemplary claim charts for the

BarPoint system, the ’978 application, and the ’554 Patent, attached hereto as Exhibits E, and J-K,

and thus the Rothschild Patents prior art is material and not cumulative to the information already of

record during the prosecution of the Asserted Patents and related applications.

                          c. Other Material Prior Art

        36.        Mr. Rothschild noted in the Asserted Patents’ specification that “[s]ome applications

that may be downloaded to portable electronic devices include symbology scanning and/or decoding

programs [including] Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red

Laser, ScanBuy, etc.” Exhibit L (’752 Patent at 3:29-33).

        37.        Mr. Rothschild, however, indicated only that these prior art systems “scan[]” or

“decode[],” but notably failed to disclose to the USPTO that these prior art systems also capture a

                                                        27
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 28 of 38 PageID: 245




digital image of a barcode and send decoded information (such as a URL) to a remote server to

retrieve information for display (such as a web page).

        38.     As shown in the claim charts attached as Exhibits M-N, the prior art systems identified

in the specification, but not fully disclosed by Mr. Rothschild, anticipate and/or render obvious each and

every element of Claim 1 of the ’752, ’369, and ’190 Patents under Symbology’s characterization of the

alleged infringing activity, and thus full disclosure of the prior art systems is material and not

cumulative to the information already of record during the prosecution of the Asserted Patents and

related applications.
                2. Leigh Rothschild Deliberately Withheld Material, Non-Cumulative Prior Art
                    References During Prosecution of the Asserted Patents and Related
                    Applications

        39.     Despite Mr. Rothschild having deep knowledge of the Barpoint system, the

Rothschild Patents, and other material, non-cumulative prior art related to technology Symbology

alleges the Asserted Patents cover, Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or

their representatives associated with the filing and prosecution of the applications for the Asserted

Patents did not submit or identify any prior art during the prosecution of the Asserted Patents and

related applications, nor did the prosecuting attorney(s) submit to the examiner a single Information

Disclosure Statement (IDS) identifying any prior art.

        40.     The BarPoint system, the Rothschild Patents, and the prior art systems identified in

the specification, are each material to patentability of the claims of the Asserted Patents and not

merely cumulative over the prior art that was before the examiner.




                                                        28
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 29 of 38 PageID: 246




       41.     Mr. Rothschild, Reagan Innovations, LLC, assignee of the Asserted Patents, and/or

the representatives associated with the filing and prosecution of the applications for the Asserted

Patents, knew of the BarPoint system, the Rothschild Patents, and the prior art systems identified in

the specification, and, on information and belief, deliberately failed to disclose the prior art to the

USPTO in connection with prosecuting the applications for the Asserted Patents, with the intent to

deceive the examiner and the USPTO.

       42.     Had Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

representatives associated with the filing and prosecution of the applications for the Asserted Patents

made the examiner aware of the BarPoint system, the Rothschild Patents, and that the prior art

systems identified in the specification anticipate and/or render obvious each and every element of the

independent claims of the ’752, ’369, and ’190 Patents under Symbology’s characterization of the

alleged infringing activity, the examiner would not have allowed the claims to issue.

               3. By Withholding Material, Non-Cumulative Prior Art During Prosecution of
                   the Asserted Patents, Leigh Rothschild Intended to Deceive the USPTO

                              a. Leigh Rothschild Lost His Interest in the BarPoint System and
                                 Rothschild Patents in Late 2010

       43.     The failure of Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

representatives associated with the filing and prosecution of the applications for the Asserted

Patents to disclose the BarPoint system and the Rothschild Patents prior art, as well as other

material prior art, was with the intent to deceive the USPTO.

       44.     Mr. Rothschild sought and obtained the Rothschild Patents claiming an alleged

invention by which a customer scans a barcode with a handheld mobile device, and transmits the

                                                      29
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 30 of 38 PageID: 247




decoded barcode information over the Internet in order to retrieve product information on the mobile

device.

          Mr. Rothschild sought monetary gain through the founding of BarPoint.com by assigning the

          Rothschild Patents to BarPoint.com in order to commercialize the alleged inventions of the

          Rothschild Patents.

          46.     According to SEC filings, BarPoint.com initially was not a commercial success:

                  Revenue from [BarPoint.com’s wireless Internet software] business
                  was limited and decreased through 2002. In 2003, this business
                  generated no revenue and we began searching to acquire another
                  business.... Effective in August 2004 Mr. Rothschild resigned as a
                  director of the Company.

Exhibit O (2004 SEC Annual Report, Description of Business).

          47.     On or about April 11, 2005, however, BarPoint.com sold the Rothschild Patents to

NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in the amount of 10% of

licensing proceeds generated by NeoMedia for 10 years. Id. (Intellectual Property). On information

and belief, NeoMedia undertook an enforcement campaign that generated royalties due under the

agreement.

          48.     BarPoint.com’s successor-in-interest subsequently declared bankruptcy, and the

Rothschild Trust, for which Mr. Rothschild was the managing member, purportedly purchased the

rights to the licensing proceeds generated from the Rothschild Patents. See Exhibit P (Settlement

Agreement).1




          1
           Available publicly at:
          https://www.sec.gov/Archives/edgar/data/1022701/000114420410066649/v205602 e x10-1.htm.
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Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 31 of 38 PageID: 248




       49.     On information and belief, Mr. Rothschild, and/or one or more entities he controlled,

received compensation for licensing proceeds from the enforcement of the Rothschild Patents.

Consequently, Mr. Rothschild remained deeply familiar with the BarPoint.com system and the

Rothschild Patents, including their disclosures and claims.

       50.     Mr. Rothschild’s rights to benefit from the Rothschild Patents ceased in late 2010

when he entered into a settlement agreement with NeoMedia assigning all rights in the Rothschild

Patents to NeoMedia.
                              b. Leigh Rothschild’s Initial Attempt to Reclaim Technology
                                 Disclosed in BarPoint System and Other Undisclosed Prior Art
                                 Was Rejected.

       51.     On September 15, 2010, Mr. Rothschild filed a patent application that ultimately

issued as U.S. Patent No. 7,992,773 (“’773 Patent”), entitled “SYSTEM AND METHOD FOR

PRESENTING INFORMATION ABOUT AN OBJECT ON A PORTABLE ELECTRONIC

DEVICE,” attached as Exhibit Q. Each of the ’752, ’369, and ’190 Patents is a continuation of the

application that led to the ’773 Patent and thus shares a common specification.

       52.     With at least one substantial exception, the general subject matter of the ’773 Patent

and the ’752, ’369, and ’190 Patents is nearly identical to the BarPoint system and the Rothschild

Patents. For example, the summary of the ’773 Patent states:

               Systems and methods are provided for allowing a user to utilize a
               portable electronic device to retrieve information about an object in
               response to the portable electronic device detecting symbology, e.g., a
               barcode, associated with the object.

Exhibit Q at 1:56-60.



                                                      31
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 32 of 38 PageID: 249




       53.     However, the ’773 Patent’s specification notes alleged problems with prior art

barcode scanning applications:
                       Some applications that may be downloaded to portable
               electronic devices include symbology scanning and/or decoding
               programs. Examples of applications that allow scanning include
               Neomedia's Neo Reader, Microsoft's Smart Tags, Android's Shop
               Savvy, Red Laser, ScanBuy, etc. However, when a user wishes to
               scan an object, the user must then select an application on the
               portable electronic device that is capable of accomplishing the
               desired functions. Since a user may have dozens of applications
               loaded on his or her portable electronic device, it may be difficult to
               select the appropriate application for executing the scanning
               functions.

See, e.g., id. at 3:20-30 (emphasis added).

       54.     In the specification, Mr. Rothschild thus proposed a solution wherein the alleged

improvement over the prior art barcode scanning applications involves “one or more visual detection

systems [that] are run in the background of the device, where other programs or systems are given

priority with respect to processing steps over the one or more visual detection systems.” Id. at 11:63-

66 (emphasis added). “If a background application detects decodable symbology ... the detected

symbology is sent to one or more pre-selected visual detection applications for decoding and

information retrieval.” Id. at 12:19-33 (emphasis added).

       55.     Notwithstanding this purported inventive feature, Mr. Rothschild initially attempted

to prosecute independent claim 1 of the patent application that ultimately issued as the ’773 Patent

without this limitation and covering only that which BarPoint and other prior art barcode scanning

applications disclosed.




                                                      32
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 33 of 38 PageID: 250




       56.     At no point during the prosecution of the ’773 Patent or the continuation applications

did Mr. Rothschild disclose to the USPTO the BarPoint system, the Rothschild Patents, or the full

capabilities of the prior art barcode scanning applications identified in the specification.

       57.     In the December 2010 Non-Final Rejection, the examiner rejected claim 1 under

35 U.S.C. 102(b) as being anticipated by Fitzpatrick et al. (2008/0201310) (“Fitzpatrick”), which

disclosed all of the limitations in the originally-drafted version of claim 1:




See Exhibit R (’773 File History, December 27, 2010 Non-Final Rejection at 2-3).
                                                        33
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 34 of 38 PageID: 251




        58.     To overcome the December 2010 rejection, Mr. Rothschild narrowed claim 1 of the

’773 Patent to include the purportedly novel feature identified in the specification:




See Exhibit S (’773 File History, January 13, 2011 Claim Amendment).

        59.     In the March 2011 Notice of Allowance, the examiner expressly noted that

the prior art taught:

                   (a) detecting a symbology associated with an object;

                   (b) decoding the symbology to obtain a decode string;

                   (c) sending the decode string to a remote server for processing;

                   (d) receiving information from the server; and
                                                        34
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 35 of 38 PageID: 252




                    (e) displaying the information on a display device.

See Exhibit T (’773 File History, March 28, 2011 Notice of Allowance at 2-3).

            60.   In the March 2011 Notice of Allowance, the examiner confirmed that the

purported “novelty” of the invention as allowed in claim 1 of the ’773 Patent was the visual

detection systems that run in the background and detect the symbology associated with an object:




Id. at 3.

            61.   As a result of the patentee’s amendment to claim 1, every independent claim of the

’773 Patent includes the limitation in which a “background” visual detection system

“automatically” decodes “symbology” and sends the decode string to another “visual detection

application” residing on the portable device.
                                c. Mr. Rothschild Intentionally Omitted the Limitations Found in
                                   Claim 1 of the ’773 Patent During Prosecution of the ‘752, ‘369,
                                   and ‘190 Patents in Order to Recapture the Scope of the
                                   BarPoint.com System He No Longer Controlled




                                                       35
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 36 of 38 PageID: 253




       62.     Despite the purported novelty identified in the specification and by the examiner

during prosecution of the parent application, Mr. Rothschild, his assignee Reagan Innovations,

LLC, and/or their representatives associated with the filing and prosecution of the applications for

the ’752, ’369, and ’190 Patents, undertook a concerted effort to omit the limitation related to the

alleged improvement that had been expressly included in claim 1 of the ’773 Patent in order to

overcome the examiner’s rejection based on anticipation grounds.

       63.     Unlike claim 1 of the ’773 Patent, the independent claims of the ’752, ’369, and

’190 Patents do not include the limitation that requires a “background” system that “decod[es] the

symbology to obtain a decode string” and “send[s]the decode string to one or more visual detection

applications for processing.”

       64.     On information and belief, Mr. Rothschild’s goal during prosecution of the Asserted

Patents was to broaden the independent claims in the continuation applications to recapture the scope

of the invention related to the BarPoint system that he had assigned to NeoMedia and for which, as of

2010, he no longer had rights to exploit. Mr. Rothschild would not have been able to achieve this goal

if he disclosed the BarPoint system, the Rothschild Patents, and the full capabilities of the prior art

barcode scanning applications identified in the specification, to the examiner during the Asserted

Patents’ prosecution before the USPTO.

       65.     Had Mr. Rothschild, his assignee Reagan Innovations, LLC, or their representatives

associated with the filing and prosecution of the applications for the Asserted Patents made the

examiner aware of the undisclosed, material, non-cumulative prior art in Mr. Rothschild’s




                                                      36
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 37 of 38 PageID: 254




possession, the examiner would not have allowed the independent claims of the ’752, ’369, and

’190 Patents to issue.

       66.       Mr.     Rothschild,   his   assignee   Reagan     Innovations,   LLC,   and/or   their

representatives associated with the filing and prosecution of the applications for the Asserted Patents

intended to deceive the USPTO by intentionally failing to disclose the BarPoint system, the

Rothschild Patents, and the full capabilities of the prior art barcode scanning applications identified

in the specification, in order to recapture patent rights to subject matter Mr. Rothschild no longer

controlled.

                                       PRAYER FOR RELIEF


         WHEREFORE, Quest asks this Court to enter judgment in Quest’s favor and against

  Symbology by granting the following relief:

          a)     a declaration that the Asserted Patents are invalid;

          b)     a declaration that Quest does not infringe, under any theory, any valid claim of the

  Asserted Patents that may be enforceable;

          c)     a declaration that the Asserted Patents are unenforceable;

          d)     a declaration that Symbology take nothing by its Complaint;

          e)     judgment against Symbology and in favor of Quest;

          f)     dismissal of the Complaint with prejudice;

          g)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

  to Quest of its costs and attorneys’ fees incurred in this action; and

          h)     further relief as the Court may deem just and proper.

                                                        37
Case 2:17-cv-02082-CCC-JBC Document 15 Filed 06/26/17 Page 38 of 38 PageID: 255




                                       JURY DEMAND

              Quest hereby demands trial by jury on all issues.



       Dated: June 26, 2017                       Respectfully submitted,

                                                  s/ David E. De Lorenzi
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                                                  38
